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                              UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF FLORIDA

   BG STRATEGIC ADVISORS, LLC,
        Plaintiff,

   v.

   FREIGHTHUB, INC.,
         Defendant.
   ____________________________________/
                                                       Case No. 9-21-cv-80299-WM
   FREIGHTHUB, INC.,
        Counterclaim Plaintiff,

   v.

   BG STRATEGIC ADVISORS, LLC;
   BGSA HOLDINGS, LLC; and BENJAMIN
   GORDON,
         Counterclaim Defendants.
   ____________________________________/

                               BGSA PARTIES’ MOTION FOR
                      PARTIAL SUMMARY JUDGMENT AS TO LIABILITY

             Plaintiff and Counterclaim Defendant BG Strategic Advisors, LLC (“BGSA”) and
   Counterclaim Defendants BGSA Holdings, LLC (“BGSA Holdings”) and Benjamin Gordon
   (“Gordon”) (collectively, the “BGSA Parties), by and through the undersigned counsel, and,
   pursuant to Federal Rule of Civil Procedure 56, hereby file their Motion for Partial Summary
   Judgment as to liability against Defendant/Counterclaim Plaintiff FreightHub, Inc. (“FreightHub”)
   for Counts I and III of BGSA’s First Amended Complaint (D.E. 51) and all counts of FreightHub’s
   First Amended Counterclaim (D.E. 53). In support thereof, the BGSA Parties state as follows:
                                            INTRODUCTION
        I.      The Parties.
             BGSA provides merger, acquisition, and private placement services for companies in the
   supply chain sector. BGSA is a single-member LLC held by BGSA Holdings LLC. Gordon was
   the managing partner of BGSA during the period of late 2017 to 2018. At all times relevant to this
   litigation, Shai Greenwald (“Greenwald”) was the Director of Business Development at BGSA.



   [2358370/9]                                     1
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             FreightHub is a transportation logistics technology platform company.1 At the times
   relevant to the relationship between FreightHub and FreightApp, Edmundo Gonzalez
   (“Gonzalez”) was FreightHub’s Chairman and Ohad Axelrod (“Axelrod”) was FreightHub’s Chief
   Executive Officer (“CEO”).
       II.      Brief Statement of the Case.2
             FreightHub was a startup technological logistics company. Like most startups, FreightHub
   was in dire need of capital to continue funding its operations, as FreightHub still has not shown a
   profit as of the end of 2022. In December 2017, FreightHub became affiliated with BGSA to
   provide legitimacy to FreightHub and to help FreightHub acquire capital to continue its operations.
   The Parties formalized this arrangement through an Engagement Letter, whereby BGSA waived
   its monetary retainer and up-front fees in favor of appointment as an ongoing advisor—if BGSA
   was successful in securing a Transaction for FreighHub. The Parties agreed that BGSA’s success
   under the Engagement Letter would be directly tied to FreightHub’s success. There is no dispute
   that BGSA performed under the Engagement Letter. Now, however, FreightHub does not want to
   pay the fees due thereunder. In discovery, the BGSA Parties uncovered the real reason that
   FreightHub refused to perform under the Engagement Letter: FreightHub found a new advisor
   that wanted a stake in the future of FreightHub, which would not have been possible under BGSA’s
   Engagement Letter. As a result, FreightHub tried to push the BGSA Parties out of the picture.
   Throughout the pendency of this lawsuit, FreightHub has attempted to invalidate the Engagement
   Letter that it entered into voluntarily and with the advice of counsel. Those attempts must fail.
             BGSA initiated this case in state court in January 2021. Since then, the case was removed
   to this Court, underwent multiple amendments of pleadings, and was the subject of a motion to
   dismiss the Counterclaim, which this Court granted in part and denied in part. (D.E. 48.) The case
   is now special set for trial to begin in October 2023. As of the date of this Motion, thousands of
   documents have been produced and a number of depositions have been taken. The BGSA Parties’



   1
     Since the filing of this lawsuit, FreightHub changed its name to Freight App, Inc. However, since
   there was no substitution necessary and for the sake of clarity, Defendant will be referred to as
   FreightHub for the purposes of this Motion.
   2
     In accordance with the Court’s local rules, a separate Statement of Material Facts upon which
   this Motion is based was filed at Docket Entry 128, with a redacted copy filed at Docket Entry
   129. A brief summary is provided here for ease of reference. The Appendix is filed at Docket
   Entry 126, with a redacted copy filed at Docket Entry 127.
   [2358370/9]                                       2
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   claims are unequivocally supported by documents produced during discovery and the relevant
   deposition testimony. For the reasons stated herein, there is no genuine issue of material fact and
   no instance in which a reasonable fact finder could find for FreightHub as to Counts I and III of
   the First Amended Complaint, FreightHub’s affirmative defenses thereto, or as to the claims
   remaining in FreightHub’s Restated First Amended Counterclaim.3 The BGSA Parties are, thus,
   entitled to summary judgment in their favor on Counts I and III of the First Amended Complaint
   and all counts of the First Amended Counterclaim.
       III.      Legal Standard on a Motion for Summary Judgment.
              “Under Rule 56(c), summary judgment is proper if the pleadings, depositions, answers to
   interrogatories, and admissions on file, together with the affidavits, if any, show that there is no
   genuine issue as to any material fact and that the moving party is entitled to a judgment as a matter
   of law.” Segev v. Lynn Univ., Inc., No. 19-81252-CIV, 2021 WL 1996437, at *2 (S.D. Fla. May
   19, 2021) (quoting Celotex Corp. v. Catrett, 477 U.S. 317, 322 (1986)) (citing Fed. R. Civ. P.
   56(a)). A court is not required to resolve disputes in the non-moving party’s favor when that
   party’s version of events is supported by insufficient evidence. See Pace v. Capobianco, 283 F.
   3d 1275, 1276, 1278 (11th Cir. 2002). “[M]ere conclusions and unsupported factual allegations
   are legally insufficient to defeat a summary judgment motion.” Ellis v. England, 432 F. 3d 1321,
   1326 (11th Cir. 2005) (citation omitted).
                     MEMORANDUM OF LAW AS TO THE FIRST AMENDED COMPLAINT
              BGSA’s First Amended Complaint against FreightHub contains three causes of action:
   (1) breach of agreement; (2) anticipatory breach of agreement; and (3) declaratory judgment.
   (D.E. 51.) The BGSA Parties are only moving for summary judgment as to liability on Counts I
   and III of the Amended Complaint.
       I.        FreightHub’s Corporate Representative’s Lack of Knowledge Does Not Create a
                 Genuine Issue of Material Fact.
              A corporation has an affirmative duty to produce a witness who is able to provide binding
   answers on behalf of the corporation. QBE Ins. Corp. v. Jorda Enterprises, Inc., 277 F.R.D. 676,
   688 (S.D. Fla. 2012); see also Fed. R. Civ. P. 30(b)(6).          “When a corporation’s designee
   legitimately lacks the ability to answer relevant questions on listed topics and the corporation

   3
     See D.E. 116, whereby the Parties stipulated that Count V of the Restated First Amended
   Counterclaims (D.E. 53), aiding and abetting the purported breach of the Investment Advisers Act
   of 1940, remains dismissed under the Court’s previous order (D.E. 48), despite its restatement.
   [2358370/9]                                        3
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   cannot better prepare that witness or obtain an adequate substitute, then the ‘we-don’t-know’
   response can be binding on the corporation and prohibit it from offering evidence at trial on those
   points.” Id. at 690 (citations omitted). In other words, “the lack of knowledge answer is itself an
   answer which will bind the corporation at trial.” Id. Such answers can also be the basis for a
   motion for summary judgment. See, e.g., In re Seven Stars on Hudson Corp., 637 B.R. 180, 206
   (Bankr. S.D. Fla. 2022), aff’d sub nom. Seven Stars on the Hudson Corp. v. MDG Powerline
   Holdings, LLC, No. 22-CIV-60299-RAR, 2022 WL 10046439 (S.D. Fla. Oct. 17, 2022) (granting
   defendants’ motion for summary judgment after plaintiff’s Rule 30(b)(6) representative “could not
   testify as to any specific amounts” to a question on damages and explaining that defendants “were
   entitled to rely on [the deponent’s] Rule 30(b)(6) deposition testimony,” which created no genuine
   dispute of material fact and entitled defendants to summary judgment).
          On September 10, 2021, the BGSA Parties noticed the deposition of FreightHub’s
   corporate representative for September 16, 2021, providing FreightHub with nineteen deposition
   topics.4 (D.E. 126-22.) FreightHub designated its Chief Financial Officer, Paul Freudenthaler
   (“Freudenthaler”), as FreightHub’s 30(b)(6) representative. Despite the long list of topics that the
   BGSA Parties noticed, Freudenthaler repeatedly answered questions with forms of “I don’t know”:
          Q: So what you’re testify to here today is your personal knowledge and FreightHub
          has not made anyone available to testify to who was in control of FreightHub at the
          time?
          A: I don’t know if it has been requested.
          Q: That is for me and your lawyer to discuss later, but you are not prepared to testify
          to those topic today?
          A: I am not, no.
          --
          Q: So sitting here today you do not know what the company did or didn’t know
          then, correct?
          A: I do not know what the company knew then correct.
   (D.E. 126-2 13:1–9; 40:6–9.) Accordingly, FreightHub must be precluded from offering any
   testimony at trial on any subject about which its corporate representative was unable or unwilling


   4
    While the deposition was not formally noticed until September 10, 2021, the date was offered by
   FreightHub on August 6, 2021, and the draft deposition topics had been provided on March 18,
   2021. So, to the extent that it appears that FreightHub was rushed into preparing, FreightHub most
   certainly was not.
   [2358370/9]                                        4
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   to testify at the 30(b)(6) deposition. Put simply, Freudenthaler’s deposition cannot be the basis of
   any dispute of material fact where he was unable to answer duly noticed deposition questions.
   This is crucial, particularly as to FreightHub’s Counterclaims, because FreightHub simply cannot
   support its own allegations.5
       II.      A Valid, Binding, And Enforceable Agreement Exists.
             The basic elements of an enforceable contract are offer, acceptance, and consideration.
   SCG Harbourwood, LLC v. Hanyan, 93 So. 3d 1197 (Fla. 2nd DCA 2012). Florida courts have
   consistently held that an objective test is used to determine whether a contract is enforceable.
   Blackhawk Heating & Plumbing Co. v. Data Lease Fin. Corp., 302 So. 2d 404, 407 (Fla. 1974).
   “The making of a contract depends not on the agreement of two minds in one intention, but on the
   agreement of two sets of external signs—not on the parties having meant the same thing but on
   their having said the same thing.” Id. (citing Gendzier v. Bielecki, 97 So.2d 604, 608 (Fla. 1957)).
   “Even though all details are not definitely fixed, an agreement may be binding if the parties agree
   on the essential terms and seriously understand and intend the agreement to be binding on them.”
   Leopold v. Kimball Hill Homes Fla., Inc., 842 So. 2d 133, 137 (Fla. 2d DCA 2003) (citing 17
   C.J.S. Contracts § 31). Additionally, “[i]t is well settled that where a determination of liability
   depends upon a written instrument and its legal effect, the question is essentially one of law and is
   ordinarily determinable by the entry of summary judgment.” Ball v. Florida Podiatrists Trust,
   620 So. 2d 1018, 1022 (Fla 1st DCA 1993).
                a. It is Undisputed that the Agreement is Enforceable
             There is no genuine issue of material fact as to whether a valid Agreement (D.E. 120-1)6
   exists between BGSA and FreightHub. First, an offer existed as of the time that Gordon provided
   FreightHub with the first version of the Agreement. Second, acceptance was given at the time that



   5
     “Although the engagement letter lists several tasks BGSA would undertake for FreightHub, it
   also states that BGSA will perform ‘any other services that are mutually agreed upon between
   [FreightHub] and BGSA or that are otherwise reasonable, customary and appropriate in
   undertakings of this nature’ [Engagement letter]. Given the general language of the engagement
   letter, the Court is not able to determine the tasks BGSA agreed to perform for FreightHub.
   Without knowing what tasks were agreed upon, the Court cannot determine, as a matter of law,
   whether BGSA agreed to serve as an investment advisor, as defined under the IAA.” (D.E. 48 at
   11.)
   6
     The Agreement was also authenticated in many other ways, for instance in the Axelrod
   Deposition, D.E. 126-4, at 10:9 to 11:15, and in the Declaration of Shai Greenwald, D.E. 117-1.
   [2358370/9]                                      5
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   Axelrod, FreightHub’s CEO, signed the Agreement on December 11, 2017. (D.E. 120-1 p. 4.) It
   is undisputed that Axelrod had authority to bind FreightHub to the Agreement on December 11,
   2017. (D.E. 126-4 11:6–15.) Lastly, valid consideration is present because there is a bargained-
   for exchange between the Parties. BGSA promised to provide services, and FreightHub promised
   to pay BGSA fees in consideration for those services. (D.E. 120-1 at 1–2.) In this lawsuit, it is
   expected that FreightHub will claim that the Agreement is invalid because the payment to BGSA
   is unreasonably high.7 However, this would entirely ignore the fact that FreightHub itself
   requested that no up-front fee be paid to BGSA in favor of a higher back-end fee because
   FreightHub simply could not afford to pay BGSA a retainer fee in December 2017. (D.E. 126-4
   33:22–34:23.)
          FreightHub was indisputably represented by counsel throughout the negotiation of the
   Agreement and received the legal go-ahead before executing the Agreement.8 (D.E. 126-2 22:7–
   10, 14–15; 25:6–20); (D.E. 126-4 11:25; 12:1–5); (D.E. 126-6 18:21–19:3); (D.E. 126-25);
   (D.E. 126-26). As all elements of a valid contract exist, it is clear that the Parties intended for the
   Agreement to be binding. Therefore, the Agreement is valid.
              b. It is Undisputed that BGSA Performed Under the Agreement
          The terms of the Agreement provided that BGSA “will act as investor and exclusive
   advisor9 for FreightHub.” (D.E. 120-1 at 1.) The Agreement defines BGSA’s performance as
   follows:
          BGSA shall proceed with its efforts to find a Transaction or multiple Transactions
          acceptable to the Company and its shareholders. Said opportunity may involve a
          capital raise, strategic investment, acquisition, sale, merger, combination,
          reorganization, recapitalization or other business transaction with the Company, in
          which the Company sells, transfers or exchanges any or all of its assets, liabilities,
          or stock in any transaction whether for cash, securities or other consideration, as a
          single transaction or series of transactions, except as done in the ordinary course of
          business (collectively, a “Transaction”)
          --


   7
     The Parties only now know the fees due under the Agreement because the fees were dependent
   on the value of any Transactions closed by FreightHub during the term thereof. In other words, if
   FreightHub did better, BGSA did better.
   8
     This argument is most relevant to FreightHub’s claim that the Agreement is illegal.
   9
     While FreightHub has argued that there is no difference between the use of the word “advisor”
   and “adviser,” that is FreightHub’s attempts to abandon the precision that BGSA used to make
   clear that it was not an investment adviser, but instead simply an advisor.
   [2358370/9]                                       6
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             During the term of BGSA’s engagement, BGSA will provide the Company with
             advice and assistance in connection with the Transaction which BGSA customarily
             provides for engagement of this type to assist the Company in its efforts to identify
             and execute Transactions.
   (D.E. 120-1 at 1.) BGSA worked tirelessly to introduce potential investors to FreightHub.
   Although not all conversations led to a “Transaction,” it is undisputed that BGSA made efforts to
   consummate a “Transaction” as required by the Agreement. Axelrod testified:
             Q: . . . So again, the deal was done in December of 2017; correct?
             A: Yes.
             Q: And we’ve seen emails that [BGSA was] actively involved in February of 2018.
             A: Yes.
             Q: And we’ve seen emails that they were actively involved in April of 2018.
             A: Yes.
             Q: And we’ve seen emails that they were actively involved in July of 2018.
             A: Yes.
   (D.E. 126-4 51:4–15.) In fact, it is undisputed that at least one “Transaction” did in fact take place.
   (D.E. 126-2 17:10–14; 18:4–6; 59:14–18; 124:2–6, 11–15; 187:18–20); (D.E. 126-4 11:6-15;
   27:16-28:4; 29:5-15); (D.E. 126-17 at 11); (D.E 126-8); (D.E. 126-11 at 1, 7, 10); (D.E. 126-23);
   (D.E. 126-24). When asked whether a transaction occurred within the first twelve months of the
   Agreement, Freudenthaler answered under oath: “There was a capital raise. There was funds
   received, yes.” (D.E. 126-2 59:14–18) (emphasis added). Accordingly, there can be no genuine
   dispute that BGSA met its performance obligations under the Agreement.
      III.       FreightHub Breached The Agreement.
             Under Florida law, the elements of breach of contract are: (1) the existence of a contract,
   (2) a breach thereof, and (3) damages flowing from the breach. Wistar v. Raymond James Fin.
   Servs., Inc., 365 F. Supp. 3d 1266, 1269 (S.D. Fla. 2018) (citing Knowles v. C. I. T. Corp., 346
   So.2d 1042, 1043 (Fla. 1st DCA 1977)). “A material breach occurs where the covenant not
   performed is of such importance that the contract would not have been made without it.” Seawatch
   at Marathon Condo. Ass’n, Inc. v. Guarantee Co. of N. Am., 286 So. 3d 823, 829 (Fla. 3d DCA
   2019) (citation omitted). Under general contract principles, the plain meaning of a contract’s
   language governs its interpretation. Belize Telecom, Ltd. v. Belize, 528 F.3d 1298, 1307 n.11 (11th
   Cir. 2008).


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               a. FreightHub Breached the Agreement by Attempting to Terminate the Agreement
                  without Cause
          The Agreement provided FreightHub with the opportunity to terminate, “but only for
   cause.” (D.E. 120-1 § C) (emphasis added). The Agreement defines “cause” as:
          (i) an intentional act of fraud by BGSA; (ii) an intentional and continued breach of
          BGSA’s material obligations under this agreement; (iii) BGSA failing to be a
          registered broker-dealer; or (iv) intentional and continued willful conduct by BGSA
          that is demonstrably and materially harmful to the Company.
          --
          Failure to meet objectives, by itself, does not constitute “Cause.”

   (D.E. 120-1 § C) (emphasis added). Without cause, the Agreement—and the Parties’ obligations
   thereunder—was to last until a change in control of FreightHub. (D.E. 126-6 131:18–132:7.) The
   Agreement continues by providing a mandatory termination procedure as follows:
          In the event the Company believes BGSA has committed actions that would justify
          termination for Cause, then it shall give BGSA a written warning, and BGSA shall
          have the opportunity for a reasonable cure period (not to exceed 30 days) (the “Cure
          Period”) in which it seems to discontinue any actions that would justify termination
          for cause. If BGSA succeeds in taking corrective action during the Cure Period,
          then the Company shall have no right to terminate BGSA for cause.
   (D.E. 120-1 § C) (emphasis added).
          Nonetheless, on September 27, 2018 (before the initial term of the Agreement expired but
   after a Transaction was completed), Axelrod emailed Gordon attempting to terminate the
   Agreement. (D.E. 126-15 at 2–3.) It is important to note that, despite the clear requirements of
   the Agreement, neither notice nor opportunity to cure was provided to BGSA. This was entirely
   improper.
          In October 2018, after reviewing the terms of the Agreement, FreightHub (1) realized that
   its attempted termination was a breach of the Agreement, (2) sent BGSA an email referring to their
   relationship as “long term,” and (3) allowed BGSA to continue working to find investors.
   (D.E. 126-10 at 1.) Importantly, Axelrod agreed to “continue [the Agreement] to the full term,”
   indicating that FreightHub would be honoring the terms of the Agreement. (D.E. 126-10 at 1.)
   FreightHub will undoubtedly argue that the “full term” of the agreement meant one year—through
   December 11, 2023. This argument falls flat because, the very next day, Axelrod confirmed that
   the Agreement “is a long term agreement and we want to continue our work together.” (D.E. 126-
   10 at 1 (emphasis added).) Clearly, after its initial termination attempt, FreightHub did an about-
   face, confirmed the Agreement’s long-term nature, and confirmed FreightHub’s intention to
   [2358370/9]                                     8
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   continue the Agreement beyond December 2018 (which would have been only two months later).
   If this was not enough, on November 8, 2018, once again after the attempted termination,
   FreightHub indicated its “sincere desire to . . . continue working with [BGSA]. (D.E. 126-17 at
   12.) Thus, it is undisputed that no termination occurred.
          Notwithstanding the foregoing, FreightHub still claims that the Agreement was properly
   terminated. It was not. In FreightHub’s Rule 30(b)(6) deposition, Freudenthaler even admitted
   that no breach occurred prior to FreightHub’s attempted termination. (D.E. 126-2 187:2–6.)
   Specifically:
          Q: The company doesn’t contend that BG Strategic Advisors breached the
          agreement prior to being notified that it was no longer involved?
          A: I don’t think that specific language was used in communications with them,
          correct.
   (D.E. 126-2 187:2–6.)10 In fact, Freudenthaler admitted that FreightHub takes the position that the
   potential investors that were brought to it by BGSA were not sufficient investors in FreightHub’s
   opinion. (D.E. 126-2 187:13–17.) The Agreement expressly states that such action cannot
   constitute “cause” for termination. (D.E. 120-1 § C.)
          Once FreightHub realized that FreightHub’s actions could be considered a breach of the
   termination provisions of the Agreement, FreightHub quickly concocted a scheme to avoid the
   Agreement altogether. In fact, during his deposition, the then-Chairman of FreightHub indicated
   that the whole idea for this pretextual lock out came from FreightHub’s counsel. (D.E. 126-6
   54:4–55:16.) Specifically, FreightHub would claim—and has now claimed—that BGSA was no
   longer “involved” with FreightHub after November 2018. (D.E. 126-11 at 10.) FreightHub
   claimed that this allowed FreightHub to terminate the Agreement. (D.E. 126-11 at 10.) No trier
   of fact could find that BGSA ceased to be involved, however, because, in addition to the fact that
   there is direct evidence to the contrary, there was nothing in the Agreement that allowed
   FreightHub to lock BGSA out in the manner in which FreightHub did. In fact, BGSA—through
   Gordon, Greenwald, and others, was involved and making introductions for FreightHub up until—
   at the earliest—October 2019. Specifically, there is direct evidence in the form of emails from


   10
      Importantly, FreightHub stating that it had no ability to terminate the Agreement for cause
   essentially admits that BGSA never ceased to be a registered broker-dealer. (D.E. 120-1 § C(iii))
   (allowing FreightHub to terminate the Agreement for cause if “BGSA fail[ed] to be a registered
   broker-dealer”).
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   BGSA to FreightHub showing such involvement by BGSA in January 2019, March 2019, May
   2019, and October 2019, at least, so FreightHub clearly knew of this involvement.11 (D.E. 126-4
   63:23; 118:3–9); (D.E. 126-2 186:15–20) (D.E. 126-11 at 3, 8, 9); (D.E. 126-16 at 1, 2); (D.E. 126-
   17 at 1, 3, 4).12
           BGSA was indisputably involved with FreightHub and potential investors for FreightHub
   during the time that FreightHub claims that BGSA was no longer involved. Gonzalez and Axelrod
   even acknowledged that BGSA could be having conversations with potential investors of which
   FreightHub would be unaware until they were informed by BGSA. (D.E. 126-4 67:21–24)
   (D.E. 126-6 155:13–18). And, importantly, FreightHub received new loans, investments, and
   capital during this time, which FreightHub acknowledges could be as a result of BGSA’s name
   recognition—after all, FreightHub was promoting its relationship to BGSA to its existing
   investors, from which FreightHub secured the additional financing. (D.E. 126-4 103:20–24;
   105:5–21); (D.E. 126-5 116:20–21); (D.E. 126-6 98:3–11); (D.E. 126-14 at 1); (D.E. 126-33 at 2).
   Moreover, it is undisputed that FreightHub never expressly told BGSA to stop working under the
   Agreement. (D.E. 126-4 146:9–13).
           Crucially, during the time when BGSA was tirelessly working to secure investors for
   FreightHub, FreightHub itself was struggling to find investors. (D.E. 126-12 at 1) (D.E. 126-4
   33:16–21; 41:15–16, 20–21; 50:14–17). In fact, Gordon informed FreightHub of the difficulties
   that he was having finding investors because of FreightHub’s financial situation. (D.E. 126-13 at
   1.) Nonetheless, BGSA continued to introduce FreightHub to potential investors. (D.E. 126-12);
   (D.E. 126-13); (D.E. 126-18); (D.E. 126-29); (D.E. 126-31); (D.E. 126-34); (D.E. 126-37);
   (D.E. 126-38). In fact, on June 16, 2018, FreightHub’s then-Chairman emailed Gordon, stating,




   11
      It may be the case that the current leadership and management of FreightHub truly did not know
   about this involvement, but that was through no fault of BGSA’s. Mr. Axelrod was terminated
   from the company at some point in 2019, and Mr. Gonzalez refused to use a @fr8hub.com email
   address, meaning that any such records were lost to FreightHub until produced by BGSA in this
   litigation. Even though such records were requested of FreightHub and Mr. Gonzalez (as well as
   the company by whom Mr. Gonzalez was issued the email that he did use), FreightHub could not
   locate or produce these records. This will be the subject of a coming Motion for Spoliation
   Sanctions.
   12
       This list is not exhaustive of BGSA’s efforts and involvement in procuring investors for
   FreightHub during this period.
   [2358370/9]                                     10
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   “The current investors just put in $215k. I think that’s it. The company has cash for another 45
   days or so. We need to find a strategic buyer and/or another investor for $500k.” (D.E. 126-39.)
          Simply put, without having cause to terminate the Agreement, and, in an attempt to avoid
   paying BGSA the agreed-upon fees, FreightHub took matters into its own hands. FreightHub tried
   the silent treatment. Among other actions, FreightHub ignored BGSA’s emails, failed to provide
   proper documentation, cancelled meetings, and denied qualified investors. (D.E. 126-2 86:19–22;
   94:16–20; 104:25–105:3; 105; 107:1–3); (D.E. 126-4 74:15–25); (D.E. 126-19 at 1); (D.E. 126-18
   at 1, 2). If this were not enough, FreightHub also kept moving the ball on BGSA in terms of what
   FreightHub was looking for in terms of a potential partner (i.e., cash as capital or cash as debt).
   (D.E. 126-18.)
          The BGSA Parties’ counsel proposed a very similar hypothetical to Freudenthaler, who
   answered as follows on behalf of FreightHub:
          Q: The question is if you have an agreement with somebody that you cannot
          terminate it unilaterally but it does say that it will only continue if you continue to
          be involved, wouldn’t that company be able to make it terminable by cutting the
          other person off?
          A: I think what you are suggesting could happen, yes.
   (D.E. 126-2 174:1–7.) And—even if Mr. Freudenthaler did not realize it during his testimony—
   that is exactly what FreightHub did. As a direct result of FreightHub’s actions, BGSA was locked
   out of FreightHub. But, without FreightHub’s actions, BGSA would still be FreightHub’s ongoing
   advisor pursuant to the Agreement. (D.E. 120-1 § C.) FreightHub cannot now claim termination
   based on failure to perform if FreightHub was the one preventing performance. BGSA sat ready
   to perform as FreightHub’s ongoing advisor if FreightHub had not cut it out. (D.E. 117 ¶ 10.)
   FreightHub cannot be allowed create a technical breach just to exploit it for its own benefit.
          FreightHub will likely argue that—despite the initial one-year term—the Agreement had
   no term and was thus a contract with an indefinite term. FreightHub will likely argue that—despite
   the express language of the contract that states BGSA will be “ongoing advisor” that the Parties
   did not intend for the Agreement to be perpetual. This argument fails before it begins. First,
   FreightHub breached during the initial term by attempting to cancel before appointing BGSA as
   ongoing advisor and failing to pay success fees on at least one transaction in 2018. (D.E. 126-15.)
   Second, the Parties clearly contemplated a one-year initial term and then ongoing advisory services
   when the Parties used the term “ongoing advisor.”


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           It is undisputed that BGSA (1) did not breach the Agreement, (2) there was no cause to
   terminate the Agreement, (3) even if there was cause, FreightHub provided BGSA with no notice
   or opportunity to cure, and (4) BGSA was involved with FreightHub long after November 2018.
   The Agreement was never terminated and is still valid, binding, and enforceable to this day.
                b. FreightHub Breached the Agreement by Failing to Appoint BGSA as Ongoing
                   Advisor
           Although the initial term of the Agreement was twelve months, the Agreement expressly
   provided for the opportunity for BGSA and FreightHub to continue their relationship if:
           In the event the Company consummates a Transaction during the term of this
           Engagement, then BGSA will be appointed as its ongoing advisor for the Company,
           on the same terms as in this letter including paragraphs A and B unless otherwise
           mutually agreed, for as long as BGSA, Cambridge Capital or Gordon remains
           involved with the Company.
   (D.E. 120-1 § C) (emphasis added).
           As FreightHub has repeatedly admitted, a “Transaction” indisputably took place within the
   first twelve months of the Agreement. (See, e.g., D.E. 126-2 17:10-14; 18:4–6; 59:14–18; 124:2–
   6, 11–15; 187:18–20); (D.E. 126-22); (D.E. 126-23). The terms of the Agreement, therefore,
   required FreightHub to appoint BGSA as its ongoing advisor. (D.E. 120-1 § C.) Notwithstanding
   the above, FreightHub has refused to acknowledge BGSA as its ongoing advisor. Axelrod
   testified:
           Q: . . . Did a transaction close as a result of the introductions made by BG Strategic
           Advisors.
           A: Yes.
           Q: So under this agreement BG Strategic Advisors was to be appointed an ongoing
           advisor.
           A: Yes.
           Q: And BG Strategic Advisors was not appointed an ongoing advisor.
           A: No.
   (D.E. 126-4 29:5–14.) FreightHub will claim that BGSA was no longer “involved,” and, therefore,
   FreightHub did not have to appoint BGSA as its ongoing advisor even after a Transaction occurred.
   See Section III.A. And, if that was not enough, as Gonzalez admitted during his deposition,
   involvement could encompass a myriad of things, even including the fact that Gordon, through
   BGSA Holdings, has been the registered holder of 80,000 non-voting common stock of FreightHub
   since January 21, 2020. (D.E. 126-6 135:12–14) (“I think as a, you know, significant shareholder

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   of course you’re, you know, we have a relationship.”); (D.E. 51-2). Accordingly, if BGSA’s
   repeated conversations with potential investors is not sufficient to encompass involvement as to
   continue the Parties’ relationship under the terms of the Agreement, Gordon’s involvement in
   FreightHub through his stock ownership certainly keeps him “involved.” And, again, even if
   FreightHub takes the position that the Agreement is terminable at will, FreightHub still breached
   the Agreement by failing to ever appoint BGSA as ongoing advisor.
          Therefore, there are no genuine issues of material fact that would invalidate this, or any
   other, term of the Agreement. It is undisputed that FreightHub materially breached the Agreement
   when FreightHub failed to appoint BGSA as its ongoing advisor. For this reason, even if
   FreightHub’s technical breach position was correct, FreightHub first breached when it failed to
   make the appointment, even though there was no dispute that BGSA was performing.
               c. FreightHub Breached the Agreement by Failing to Pay BGSA
          The Agreement entitled BGSA to three distinct compensation components: (1) a retainer,
   (2) success fees, and (3) expense reimbursement. (D.E. 120-1 § A.) The retainer and success fees
   are the subject of the Amended Complaint. (D.E. 51 ¶¶ 36–43.) The terms for the retainer are as
   follows:
          BGSA’s principal, Benjamin Gordon and/or his designees, will receive stock equal
          to 8% of the fully-diluted equity of the Company’s stock, based on the total
          capitalization as of the date of the next Transaction. 50% of this equity shall vest
          upon the closing of the next Transaction. The remaining 50% of this equity shall
          vest upon the sooner of (a) the Company receiving introductions to at least 10 c-
          level executives to strategic companies in the supply chain sector, or (b) the
          Company receiving one introduction to a strategic client that generates meaningful
          revenue for the Company.
   (D.E. 120-1 § A(1).) The terms for the success fees are as follows:
          Upon consummation of any Transaction, the Company will pay BGSA a success
          fee equal to (a) 10% of capital raised for capital raises, loans, or investments, 7%
          of which shall be payable to BGSA by the Company in cash and the remaining 3%
          payable in fully-diluted equity of the Company’s stock; or (b) 3% of the Company’s
          Total enterprise value for sales, mergers, or changes of control. For the sake of
          clarity, BGSA shall not be entitled to a success fee for (i) the BGSA investment; or
          (ii) any funds received from any existing investor of the Company.
          --
          A Transaction shall be deemed consummated as of the date on which the Company
          delivers signed closing documents effecting a transaction (the “Closing”). The
          Success Fees shall be due immediately at the closing.


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   (D.E. 120-1 § A(2)–(3).
                 i.      FreightHub Failed to Pay BGSA Success Fees.
          The terms of the Agreement are clear that once BGSA was appointed as FreightHub’s
   ongoing advisor, BGSA would be entitled to “10% of capital raised for capital raises, loans, or
   investments” and “3% of the Company’s Total enterprise value for sales, mergers, or changes of
   control” for any non-preexisting investors. (D.E. 120-1 § A(2)(a)–(b).) As indicated above, BGSA
   should have been appointed as FreightHub’s ongoing advisor and is, therefore, entitled to the
   compensation referenced herein. Importantly, FreightHub did, on one occasion, pay a success fee
   of sixteen thousand three hundred and sixty dollars ($16,360.00), acknowledging the validity of
   the Agreement and its responsibility for paying success fees to BGSA. (D.E. 126-21.) After that,
   however, FreightHub stopped paying.
          Despite the language of the Agreement, however, BGSA was locked out of FreightHub by
   FreightHub and denied subsequent success fees.        FreightHub’s contentions that BGSA is
   requesting fees without doing any work are unfounded. BGSA provided more than just connection
   with potential investors—its reputation alone helped FreightHub. (D.E. 126-4 103:20–24; 105:5–
   21); (D.E. 126-5 116:20–21); (D.E. 126-6 98:3–11); (D.E. 126-14 at 1); (D.E. 126-33 at 2). For
   example, FreightHub used Gordon and BGSA’s name to develop FreightHub’s seriousness as a
   company:
          A: . . . We used that relationship to establish our seriousness as a company, or
          relationship with Ben. That was part of the relationship with Ben Gordon.
          Q: So you said that you used that relationship to establish the seriousness of
          FreightHub?
          A: Yes.
          Q: And even to investors that had nothing to do with Ben Gordon and BG Strategic
          Advisors you used the relationship with BG Strategic Advisors to establish the
          seriousness of the company.
          A: Yes.
          Q: And months later you closed a $4 million round; correct?
          A: Correct.
          Q: And then the company made the decision to terminate BG Strategic Advisors.
          A: Correct.
   (D.E. 126-4 105:5–21.) Moreover, and perhaps more importantly, the Agreement specifically
   contemplates BGSA’s entitlement to success fees “with or without [its] continued assistance.”

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   (D.E. 120-1 § B (emphasis added)). This section is then incorporated into the terms for BGSA’s
   position as ongoing advisor. (D.E. 120-1 § C (“BGSA will be appointed on the same terms as in
   this latter including paragraphs A and B”) (emphasis added)).
          As noted above, absent FreightHub’s actions in affirmatively locking BGSA out of
   FreightHub, BGSA would still be FreightHub’s exclusive advisor. FreightHub therefore breached
   the Agreement by failing to pay BGSA success fees under the Agreement. In fact, it is undisputed
   that numerous capital raises, loans, and/or investments occurred after FreightHub pushed BGSA
   out. (D.E. 119-1; 119-2). After reviewing and analyzing the documents provided by FreightHub,
   the BGSA Parties’ damages expert determined that FreightHub owes BGSA success fees totaling
   $979,784.00, excluding the merger.13 And, after Gordon requested clarification on such fees,
   FreightHub simply decided to ignore such requests with internal emails stating “not sure what/if
   to answer him at all” and “best for counsel I assume.” (D.E. 126-28 (emphasis added)); (D.E. 126-
   27).
                  ii.    FreightHub Failed to Pay BGSA for its Merger.
          As an ongoing advisor, BGSA was also entitled to a percentage of the value of any merger.
   Specifically, BGSA was entitled to “3% of the Company’s Total enterprise value for sales,
   mergers, or changes of control.” (D.E. 120-1 § A(2)(b)) (emphasis added). On February 14, 2022,
   FreightHub merged with Hudson Capital. (D.E. 119-2 at 12).                  REDACTED

                                                                          (D.E. 126-2 119:2–7). It is
   undisputed that (1) the terms of the Agreement provided that BGSA would be appointed as
   FreightHub’s ongoing advisor if a Transaction occurred and (2) a Transaction, in fact, occurred.
   As such, FreightHub was contractually obligated to compensate BGSA with 3% of the value of
   the Hudson Capital Merger “as of the date on which the Company delivers signed closing
   documents effecting a Transaction.” (D.E. 120-1 § A(3).) FreightHub has provided no such
   compensation. This is yet another a breach of the Agreement.
                  iii.   FreightHub Created a Different Class of Stock Specifically for BGSA.
          Pursuant to the Agreement, BGSA’s retainer was to be paid in FreightHub stock based on
   the total capitalization “as of the date of the next Transaction.” (D.E. 120-1 § A(1).) As admitted
   by Gonzalez in an email on October 25, 2019, the “next Transaction” happened in “Spring 2018.”


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     This Motion is to liability only. The damage calculations are only included herein for reference
   and as a representation of FreightHub’s liability under the Agreement.
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   (D.E. 126-11 at 1.) According to the transaction documents, the specific date was February 27,
   2018. (D.E. 126-24.) As such, Gordon was entitled to “8% of the fully-diluted equity of
   [FreightHub’s] stock, based on the total capitalization” as of February 27, 2018. (D.E. 120-1
   § A(1).) Instead, FreightHub created a diluted class of non-voting stock specifically for BGSA.
   (D.E. 51-2); (D.E. 126-2 170:7-14). FreightHub failed entirely to inform BGSA that it would be
   receiving non-voting stock. (D.E. 126-6 164:11–181:12.) Indeed, the stock provided to BGSA
   did not exist at the time that the Parties signed the Agreement. (D.E. 126-2 170:7-14). BGSA
   understood that the stock that would be issued to BGSA would be of the same class as other
   shareholders, not that a new class of stock would be created for BGSA and placed below all other
   classes of stock. (D.E. 126-5 65:22–66:19.) FreightHub’s failure to comply with the terms of the
   retainer fee language of the Agreement is indisputably a breach of the Agreement.
                 d. BGSA Suffered Damages from FreightHub’s Breaches14
              Finally, BGSA suffered damages as a result of FreightHub’s failure to deliver the promised
   equity, failure to pay success fees, and failure to appoint BGSA as an ongoing advisor. Therefore,
   no trier of fact could find that the elements of breach of contract are not met, and BGSA is therefore
   entitled to summary judgment on Count I of the Amended Complaint as a matter of law.
        IV.      The Court Should Issue a Declaration That Agreement is Valid, Binding, and
                 Enforceable.
              Count III of the Amended Complaint is a declaratory action asking the Court for a
   declaration that the Agreement is valid and enforceable. (D.E. 51 ¶ 48(a), (b), (d).) Count III also
   requests that the Court determine that FreightHub could not unilaterally terminate the Agreement
   without cause. (D.E. 51 ¶ 48(c).) “[A] complaint for declaratory relief must allege that: (1) there
   is a bona fide dispute between the parties; (2) the plaintiff has a justiciable question as to the
   existence or nonexistence of some right, status, immunity, power or privilege, or as to some fact
   upon which existence of such a claim may depend; (3) the plaintiff is in doubt as to the claim; and
   (4) there is a bona fide, actual, present need for the declaration. Mandarin Lakes Cmty. Ass’n, Inc.
   v. Mandarin Lakes Neighborhood Homeowners Ass’n, Inc., 322 So. 3d 1196, 1199 (Fla. 3d DCA
   2021). All elements have been met here. (D.E. 51 ¶¶ 44–52.)




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     BGSA is not moving for summary judgment on damages, as there are no doubt questions of fact
   to be resolved with respect to damages owed to BGSA.
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            “Competent persons have the utmost liberty of contracting and when these agreements are
   shown to be voluntarily and freely made and entered into, then the courts usually will uphold and
   enforce them.” Wechsler v. Novak, 157 Fla. 703, 708 (1946). FreightHub knowingly, voluntarily,
   and intelligently entered into the Agreement with BGSA. It is undisputed that FreightHub had the
   opportunity to negotiate the terms of the Agreement and consult with a lawyer before it was
   finalized. (D.E. 126-4 11:16–18, 25; 12:1–15; 13:1–16); (D.E. 126-5 73:19–23); (D.E. 126-4
   18:21–19:3; 19:10–13; 20:1–5; 21:3–5); (D.E. 126-2 22:7–10, 14–15; 25:6–20); (D.E. 126-25);
   (D.E. 126-26.). In other words, FreightHub was well-aware of the validity of the Agreement and
   its own contractual obligations thereunder. FreightHub has even acknowledged the Agreement’s
   validity at the time it was executed. (D.E. 126-2 31:17–25); (D.E. 126-6 22:7–11). Freudenthaler
   specifically testified:
            Q: . . . What does this paragraph I’m selecting here say?
            A: If this agreement reflects the terms of our engagement please sign below and
            return to me at your earliest convenience.
            Q: Is that a signature for FreightHub?
            A: That is a signature by Mr. Axelrod, yes.
            Q: FreightHub agreed that this was the terms of the engagement?
            A: As did Mr. Gordon, yes.
   (D.E. 126-2 31:17-32:1.)
            As noted herein, there is no genuine dispute as to the validity of the Agreement and no
   genuine dispute as to the invalid attempted termination of the Agreement. Accordingly, the
   Agreement remains in effect, and no trier of fact could find in FreightHub’s favor. BGSA,
   therefore, continues to be entitled to performance under the Agreement, and it cannot be disputed
   that a declaration in BGSA’s favor is proper. Summary judgment on Count III should be granted
   as a matter of law.
       V.      FreightHub Fails To Meet Its Burden of Establishing Its Affirmative Defenses.
            “An affirmative defense is one that admits to the complaint, but avoids liability, wholly or
   partly, by new allegations of excuse, justification, or other negating matters.” Adams v. Jumpstart
   Wireless Corp., 294 F.R.D. 668, 671 (S.D. Fla. 2013). When a plaintiff moves for summary
   judgment on a defendant’s affirmative defense, “the defendant bears the initial burden of showing
   that the affirmative defense is applicable.” Off. of Thrift Supervision v. Paul, 985 F. Supp. 1465,
   1470 (S.D. Fla. 1997). “The defending party must rely on or submit record evidence in support of

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   the purported affirmative defenses to create a genuine issue of material fact preventing the entry
   of summary judgment.” United States v. Marder, 208 F. Supp. 3d 1296, 1318 (S.D. Fla. 2016)
   (citation omitted). “Only upon such a showing does the burden shift to plaintiff regarding that
   affirmative defense.” Off. of Thrift Supervision, 985 F. Supp. at 1470. With the burden shifting
   to the plaintiff, “[a] court may grant partial summary judgment on an affirmative defense if the
   plaintiff shows that the defendant cannot maintain the defense by a preponderance of the
   evidence.” Anderson v. Mascara, 347 F. Supp. 3d 1163, 1175 (S.D. Fla. 2018). “Where there are
   no facts pled to support general allegations of affirmative defenses, the defenses are legally
   insufficient.” Leal v. Deutsche Bank Nat. Trust Co., 21 So. 3d 908, 909 (Fla. 3d DCA 2009).
              a. FreightHub’s First Affirmative Defense—Full Performance
          FreightHub’s first affirmative defense is full performance. (D.E. 53 at 4.) FreightHub
   claims that it has fully performed by paying all compensation owed (D.E. 53 at 4) but provides no
   documentary evidence of such payment. There is no doubt that FreightHub did not fully perform
   under the Agreement as the facts already stated herein confirm that compensation is still very much
   due and owing to BGSA.
              b. FreightHub’s Second Affirmative Defense—Illegality
          As its second affirmative defense, FreightHub asserts illegality. (D.E. 53 at 4.) An illegal
   contract is one that’s terms “violate[] a provision of the constitution or a statute.” Harris v.
   Gonzalez, 789 So. 2d 405, 409 (Fla. 4th DCA 2001). FreightHub has provided no evidence to
   support this, only a long list of allegations that it repeats throughout its affirmative defenses and
   that have been unequivocally disproven herein:
          Plaintiff’s failing to comply with applicable securities regulations; Plaintiff or its
          affiliates’ failure to remain involved with Defendant; the failure of Plaintiff or its
          affiliates or designees to invest in Defendant; Plaintiff’s false statements regarding
          its registration status, its intention to invest in Defendant, and concealment of all
          facts and information relating to the SEC’s investigation and subsequent Order
          against Gordon; Plaintiff’s failure to identify conflicts of interest among BGSA and
          its affiliates acting as investment advisors and investors; Plaintiff’s failure to meet
          the threshold requirements for payment of the “Retainer” under the alleged
          agreement; and Plaintiff’s failure to provide any ongoing services to Defendant or
          to otherwise meet any of its obligations under the alleged agreement, including with
          respect to engaging in any efforts to find a “Transaction” or multiple “Transactions”
          acceptable to Defendant.




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   (D.E. 53 at 4.) These allegations (the “Boilerplate Allegations”) are all legally and factually
   insufficient for each affirmative defense that FreightHub tries to use them for.
              First, it is undisputed (and discussed in more detail infra) that BGSA is not an investment
   adviser—which is a prerequisite for compliance with the Investment Advisers Act of 1940. (See,
   e.g., D.E. 120-1 § O.) Second, it is undisputed that BGSA was involved with FreightHub through
   at least October 2019. (D.E 126-4 63:23; 118:3–9); (D.E. 126-2 186:15–20) (D.E. 126-11 at 3, 8,
   9); (D.E. 126-16 at 1, 2); (D.E. 126-17 at 1, 3, 4).
              Third, it is undisputed that the Agreement only contemplates that BGSA or its affiliates
   “intends” on investing in FreightHub. (D.E. 120-1 p. 1.) It is curious that FreightHub seeks to
   avoid the Agreement’s plain language and read in a certainty requirement when there simply is
   none as written.
              Fourth, the Agreement was between FreightHub and BGSA, not FreightHub and Gordon.15
   (D.E. 120-1 p. 4); (D.E. 126-2 26:20–24). Fifth, FreightHub was aware of BGSA’s relationship
   with Cambridge Capital because the Agreement expressly identified it. (D.E. 120-1 § C (“for as
   long as BGSA, Cambridge Capital, or Gordon remains involved with the company”) (emphasis
   added)).
              Sixth, it is undisputed that at least one “Transaction” occurred and that BGSA introduced
   FreightHub to at least one strategic client, thereby entitling BGSA to the full retainer under the
   Agreement. (D.E. 126-2 at Ex. 4); (D.E. 126-2 17:10–14; 18:4–6; 59:14–18; 124:2–6, 11–15;
   187:13–17); (D.E. 126-4 27:16–28:4; 29:5–14; 47:7–15); (D.E. 126-17 at 11); (D.E 126-8);
   (D.E. 126-11 at 1, 7, 10). And lastly, it is undisputed that BGSA performed its obligations under
   the Agreement, as set forth in the preceding sections.           Importantly, all of the Boilerplate
   Allegations have to do with performance under the Agreement, not the terms of the Agreement
   itself. FreightHub has produced no evidence upon which a trier of fact could render the Agreement
   illegal.
              FreightHub also attempts to claim that the Agreement is illegal for violation of the
   Investment Advisers Act of 1940 as a result of Gordon’s SEC suspension. This is verifiably false
   for three reasons. First, as previously noted, Gordon was not a party to the Agreement. Second,
   at all times material, BGSA was a registered broker-dealer. (D.E. 126-7 136:21–137:4); (D.E. 114


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     As such, Gordon’s SEC investigation did not and should not have affected the relationship
   between BGSA and FreightHub.
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   ¶ 5) (D.E. 121-1). Third, Axelrod, the former FreightHub CEO, admitted that the attempted
   termination had nothing to do with Gordon’s SEC suspension.                 Therefore, an irrelevant
   suspension—which would not even constitute cause under the Agreement--cannot be the basis for
   FreightHub’s argument that the Agreement is illegal. (D.E. 126-4 131:16-19). It is also important
   to note that the SEC suspension was agreed to after FreightHub first attempted to terminate the
   Agreement. (D.E. 126-15.) Therefore, FreightHub simply cannot support an illegality defense.
                c. FreightHub’s Third Affirmative Defense—Unclean Hands
             FreightHub’s third affirmative defense is unclean hands. (D.E. 53 at 5.) However, the
   evidence here fails to establish that BGSA acted with unclean hands. As an initial matter, this
   affirmative defense contains the same exact Boilerplate Allegations as FreightHub’s second
   affirmative defense, and, therefore, fails for the same reasons indicated above. Moreover, like
   fraud, unclean hands “is not so subtle a concept that it cannot be described with precision.”
   Flemenbaum v. Flemenbaum, 636 So. 2d 579, 580 (Fla. 4th DCA 1994). To state an unclean hands
   affirmative defense, merely proving condemnable conduct is not enough; “[a] party must also
   prove three other ‘elements’: (1) reliance on the conduct; (2) relation to the litigation; (3) resulting
   in an injury.” U.S. Bank Nat’l Ass’n as Tr. for C-Bass Mortg. Loan Asset-Backed Certificates,
   Series 2006-CB8 v. Qadir, 342 So. 3d 855, 859 (Fla. 1st DCA 2022). As FreightHub’s affirmative
   defense does not reference reliance or injury, nor has any been advanced in discovery, FreightHub
   has not met—and cannot meet—its burden for this affirmative defense to survive summary
   judgment.
             If this was not enough, FreightHub’s basis for its unclean hands defense is simply a thinly
   veiled, unsupported, breach of contract claim. (D.E. 53 at 5). See also Cong. Park Office Condos
   II, LLC v. First-Citizens Bank & Tr. Co., 105 So. 3d 602, 610 (Fla. 4th DCA 2013) (“a breach of
   contract . . . may not be nice . . . but it does not amount to unclean hands.”) (emphasis added).
   The unclean hands affirmative defense also notes that Gordon individually, not BGSA, was the
   subject of a SEC settlement, well after the execution of the Agreement. (D.E. 53 at 5.) Not a
   single allegation in the unclean hands affirmative defense suggests that BGSA defrauded
   FreightHub or acted inequitably in any regard. Therefore, this affirmative defense fails as a matter
   of law.




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              d. FreightHub’s Fourth Affirmative Defense—Failure to Mitigate Damages
          FreightHub’s fourth affirmative defense is failure to mitigate damages, where FreightHub
   claims that BGSA “waited for [FreightHub] to undertake one or more subsequent transactions
   before commencing this civil action.” (D.E. 53 at 6.) Importantly, “[t]here is no actual ‘duty to
   mitigate,’ because the injured party is not compelled to undertake any ameliorative efforts.” Sys.
   Components Corp. v. Fla. Dep’t of Transp., 14 So. 3d 967, 982 (Fla. 2009). Additionally, mere
   waiting is not a failure to mitigate damages. If waiting was, then FreightHub itself failed to
   mitigate its damages by waiting to bring its counterclaims against BGSA, BGSA Holdings, and
   Gordon.
          And, FreightHub ignored BGSA’s attempts to resolve this without a suit, with internal
   emails stating “not sure what/if to answer him at all” and “best for counsel I assume.” (D.E. 126-
   28 (emphasis added)); (D.E. 126-27). As a result, BGSA only commenced this action after it
   became obvious that FreightHub was not going to follow through on FreightHub’s obligations
   under the Agreement. As FreightHub provides no other evidence to prove that BGSA failed to
   mitigate its damages, this defense fails.
              e. FreightHub’s Fifth Affirmative Defense—Laches
          FreightHub asserts laches as its fifth affirmative defense. (D.E. 53 at 6.) The doctrine of
   laches is premised “upon unreasonable delay in enforcing a right, coupled with a disadvantage to
   the person against whom the right is sought to be asserted.” Bethea v. Langford, 45 So. 2d 496,
   498 (Fla. 1949); see also Dean v. Dean, 665 So. 2d 244, 247 (Fla. 3d DCA 1995) (explaining
   laches requires proof of, inter alia, delay on the part of the plaintiff and injury or prejudice to the
   defendant). “Lapse of time alone is insufficient to support a finding of laches.” Smith v. Town of
   Bithlo, 344 So. 2d 1288, 1288-89 (Fla. 4th DCA 1977). In this affirmative defense, FreightHub
   claims that BGSA delayed bringing this lawsuit because “[BGSA] has not had any meaningful
   involvement with [FreightHub] since November 2018” and only commenced this action after the
   merger announcement. (D.E. 53 at 6.) This could not be further from the truth. Once again,
   BGSA only commenced this action after it became obvious that FreightHub was not going to
   follow through on its obligations under the Agreement. Moreover, the email train in this case is
   clear: BGSA was sending emails to potential investors way past November 2018. FreightHub
   cannot offer any evidence to establish that BGSA unreasonably delayed at all, let alone in a manner
   resulting in prejudice.

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          Moreover, if FreightHub attempts to meets its initial burden on this affirmative defense,
   there are dozens of emails between FreightHub and Gordon showing that Gordon was attempting
   to resolve this matter for years—instead of acknowledging this to defeat the laches affirmative
   defense, however, FreightHub claims that Gordon breached his agreed-to SEC suspension by
   virtue of the attempts to resolve the matter with FreightHub from July 2019 to July 2020.
   Therefore, the laches affirmative defense fails.
              f. FreightHub’s Sixth Affirmative Defense—Speculative Damages
          FreightHub’s next affirmative defense is speculative damages, claiming that BGSA’s
   damages are speculative because “not all of the transactions . . have been consummated.” (D.E. 53
   p. 7.) As the record is clear, the merger between FreightHub and Hudson Capital was closed on
   February 14, 2022. (D.E. 119-2 at 12.) As such, there can be no genuine issue of material fact
   that BGSA is entitled to concrete damages. FreightHub has not and cannot produce any evidence
   to dispute this fact. The fact that the Parties are in dispute as to the amount of such damages does
   not preclude summary judgment. See McCall v. Sherbill, 68 So. 2d 362, 364 (Fla. 1953)
   (“[D]amages are not rendered uncertain because they cannot be calculated with absolute exactness.
   It is sufficient that there be a reasonable basis of computation although the result may be only
   approximate.”) (citation omitted). Accordingly, FreightHub has not met its burden as to the sixth
   affirmative defense of speculative damages.
              g. Seventh Affirmative Defense—Accord and Satisfaction
          FreightHub’s seventh affirmative defense is accord and satisfaction. (D.E. 53 at 7.) In this
   defense, FreightHub claims that it delivered 80,000 shares of common stock to Holdings and,
   therefore, FreightHub’s obligation under the Agreement was satisfied. (D.E. 53 at 7.) There are
   two elements of accord and satisfaction: (1) the parties mutually intend to settle an existing dispute
   by entering into a superseding agreement and (2) actual performance with satisfaction of the new
   agreement. U.S. v. Morrison, 28 So. 3d 94, 101 (Fla. 1st DCA 2009). Additionally, “the new
   agreement must be executed in order to have the effect of satisfaction, and if it is not executed, the
   new agreement does not bar an action based upon the original agreement.” 10 Fla.Jur.2d
   Compromise, Accord, and Release s. 7 (1979) (emphasis added). As an initial matter, FreightHub
   was already obligated to provide shares to BGSA—or BGSA’s designee—and, therefore, there
   was no “superseding agreement.” (D.E. 120-1 § A(1).) Moreover, the shares that were provided
   to BGSA were diluted and of a lower class and did not satisfy the requirements under the

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   Agreement. (D.E. 126-5 65:22–66:19); (D.E. 126-7 48:3–9.) FreightHub has provided no
   evidence of any agreement by BGSA to accept such lesser stock—because no such agreement
   exists. As such, there has been no accord and satisfaction as a matter of law.
              h. FreightHub’s Eighth Affirmative Defense—Condition Precedent
          FreightHub asserts condition precedent as its eighth affirmative defense. (D.E. 53 at 7.)
   This affirmative defense perfectly exemplifies FreightHub’s approach to contract interpretation.
   “Where, as here, it is unclear whether alleged conditions precedent apply, the burden is on the
   party asserting the existence of the conditions precedent to establish their applicability.” Diaz v.
   Wells Fargo Bank, N.A., 189 So. 3d 279, 285 (Fla. 5th DCA 2016). Once again, FreightHub offers
   no explanation or proof that any conditions precedent apply to the Agreement—because no such
   conditions exist. Instead, FreightHub introduces the same Boilerplate Allegations in support of its
   condition precedent defense.       The Boilerplate Allegations have been factually disproven
   repeatedly throughout this motion and fail for the same reasons reiterated herein. Therefore, this
   affirmative defense fails.
              i. FreightHub’s Ninth Affirmative Defense—Uncertainty
          In its ninth affirmative defense, FreightHub claims that the terms “Transaction,”
   “Retainer,” and the Agreement’s term and termination are uncertain. (D.E. 53 at 8–9.) This is
   verifiably false by the terms of the Agreement itself. First, “Transaction” is unmistakably defined
   in the Agreement. (D.E. 120-1 p. 1); (D.E. 126-4 28:21-23). Second, there are two (2) explicit
   ways that BGSA is entitled to a retainer. (D.E. 120-1 § A(1)(a), (b).) Third, the fact that the
   Agreement does not allow for termination without cause does not void the contract, especially
   when FreightHub (on numerous occasions) agreed to the Agreement’s terms. See McArthur v.
   A.A. Green & Co. of Fla. Inc., 637 So. 2d 311, 311-12 (Fla. 3d DCA 1994) (enforcing a contract
   with a provision that allowed termination “only for cause”). Lastly, and despite FreightHub’s best
   efforts otherwise, the Agreement contains a detailed termination clause. (D.E. 120-1 § C.)
          Although there is no defined term for the ongoing advisor relationship, the law imposes a
   reasonable time if a contract does not expressly fix the time for performance. See Sound City, Inc.
   v. Kessler, 316 So. 2d 315, 318 (Fla. 1st DCA 1975) (“in the absence of an express provision as to
   duration in a contract, the intention of the parties with respect to duration and termination is to be
   determined from the surrounding circumstances and by application of a reasonable construction of
   the agreement as a whole and that if it appears that no termination was within the contemplation

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   of the parties, or that their intention with respect thereto cannot be ascertained, the contract will be
   terminable within a reasonable time depending upon the circumstances and that it may not be
   terminated by either party without first giving reasonable notice.”). Moreover, the surrounding
   circumstances and conduct of the Parties here, through the Parties’ course of dealings, clearly
   support that the manifest intent of the Parties was to have an enforceable contract until a change
   in control of FreightHub. (D.E. 126-6 131:18–132:7.)
          Therefore, the terms that FreightHub claims are “uncertain” are actually quite certain. In
   fact, the Agreement clearly explains every one of them. FreightHub has provided no proof
   otherwise and has failed to meet its burden to prove uncertainty.
              j. FreightHub’s Tenth Affirmative Defense—Estoppel
          FreightHub’s tenth affirmative defense is estoppel. (D.E. 53 at 8). The elements of an
   estoppel defense are (1) a representation as to a material fact that is contrary to a later-asserted
   position, (2) reliance on that representation, and (3) a change in position detrimental to the party
   claiming estoppel, caused by the representation and reliance thereon. Justice Admin. Comm’n v.
   Berry, 5 So. 3d 696, 699 (Fla. 3d DCA 2009). The reason that this defense fails is simple: there
   are no facts pled or proven to support an estoppel defense. (D.E. 53 at 8.) The evidence exchanged
   in the course of this lawsuit does nothing to save the estoppel affirmative defense.
              k. FreightHub’s Eleventh Affirmative Defense—Lack of Adequate Assurance
          FreightHub asserts lack of adequate assurance as its eleventh affirmative defense, asserting
   the same exact Boilerplate Allegations. This defense therefore fails for the same reasons that every
   affirmative defense that relies upon the Boilerplate Allegations fails. Moreover, FreightHub does
   not provide any evidence that it ever requested adequate assurances and therefore cannot meet its
   burden of proving affirmative defense number eleven.
              l. FreightHub’s Twelfth Affirmative Defense—Prior Breach
          FreightHub asserts prior breach as its twelfth affirmative defense, once again asserting the
   same exact Boilerplate Allegations. (D.E. 53 at 8.) This defense therefore fails for the same
   reasons that every affirmative defense that relies upon the Boilerplate Allegations fails.
   Nonetheless, the Agreement is clear—to terminate, FreightHub was required to provide BGSA
   with notice and an opportunity to cure. (D.E. 120-1 § C.) As FreightHub has provided no evidence
   that it did, in fact, provide such notice and an opportunity to cure (because FreightHub did not),
   there must not have been a prior breach.

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              m. FreightHub’s Thirteenth Affirmative Defense—Unconscionability
          FreightHub’s thirteenth affirmative defense is unconscionability, alleging that the
   Agreement “can only be terminated under very limited circumstances and otherwise requires the
   payment of fees indefinitely irrespective of [BGSA’s] rendition of any services.” (D.E. 53 at 9.)
   “Before a court may hold a contract unconscionable, it must find that it is both procedurally and
   substantively unconscionable.” Gainesville Health Care Ctr., Inc. v. Weston, 857 So. 2d 278, 284
   (Fla. 1st DCA 2003) (citations omitted). To determine whether a contract is procedurally
   unconscionable, a court must look to the “circumstances surrounding the transaction” to determine
   whether the complaining party had a “meaningful choice” at the time the contract was entered. Id.
   (citation omitted). “Among the factors to be considered are whether the complaining party had a
   realistic opportunity to bargain regarding the terms of the contract, or whether the terms were
   merely presented on a ‘take-it-or-leave-it’ basis; and whether he or she had a reasonable
   opportunity to understand the terms of the contract.” Gainesville Health Care Ctr., Inc., 857 So.
   2d at 285. To determine whether a contract is substantively unconscionable, a court must look to
   the terms of the contract, itself, and determine whether they are so “outrageously unfair” as to
   “shock the judicial conscience.” See, e.g., Belcher v. Kier, 558 So.2d 1039, 1043 (Fla. 2d DCA
   1990) (declining to equate “unconscionability” with mere “unreasonableness”).
          As a threshold matter, the Agreement cannot be procedurally unconscionable because
   FreightHub participated in negotiations of the terms of the Agreement and was represented by
   counsel during such negotiations. (D.E. 126-4 11:16–18, 25; 12:1–15; 13:1–16); (D.E. 126-5
   73:19–23); (D.E. 126-6 18:21–19:3; 19:10–13; 20:1–5; 21:3–5); (D.E. 126-2 22:7–10, 14–15;
   25:6–20); (D.E. 126-25); (D.E. 126-26). Additionally, FreightHub has produced no evidence to
   create a genuine dispute that the Agreement is not substantially unconscionable. Therefore,
   FreightHub’s thirteenth affirmative defense does not meet its burden of production and is
   insufficient to preclude summary judgment.
              n. FreightHub’s Fourteenth Affirmative Defense—Impossibility
          As its fourteenth affirmative defense, FreightHub claims that it is impossible for
   FreightHub to perform under the Agreement. (D.E. 51 at 9.) “Impossibility of performance refers
   to those factual situations, too numerous to catalog, where the purposes, for which the contract
   was made, have, on one side, become impossible to perform.” Home Design Ctr.--Joint Venture
   v. Cnty. Appliances of Naples, Inc., 563 So. 2d 767, 770 (Fla. 2d DCA 1990). Once again,

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   FreightHub includes no facts to support such defense. Moreover, this affirmative defense is
   negated itself by the fact that FreightHub did, on one (1) occasion, pay a success fee of $16,360.00,
   acknowledging the validity of the Agreement and FreightHub’s responsibility for paying success
   fees to BGSA. (D.E. 126-21.) It is curious how FreightHub’s performance of the Agreement can
   be impossible if it has previously performed thereunder.
              o. FreightHub’s Fifteenth Affirmative Defense—Liquidated Damages
          For its fifteenth affirmative defense, FreightHub asserts that the amounts sought by BGSA
   under the Agreement constitute liquidated damages. (D.E. 53 at 9.) FreightHub points to no
   arrangement of the Parties or provision in the Agreement referencing liquidated damages. As
   indicated herein, the damages sought by BGSA are those it is entitled to under the terms of the
   Agreement. FreightHub has produced no evidence to indicate otherwise. Therefore, FreightHub’s
   fifteenth affirmative defense fails.
              p. FreightHub’s Sixteenth Affirmative Defense—Agreement is Void and/or Unlawful
          As its last affirmative defense, FreightHub asserts that the Agreement is void and/or
   unlawful as being a restraint on trade or commerce under Chapter 542 of the Florida Statutes.
   (D.E. 53 at 9.) FreightHub has repeatedly acknowledged the existence and validity of the
   Agreement throughout the course of this lawsuit, including when it paid BGSA certain success
   fees as required by the Agreement. (D.E. 126-2 18:23-29:14); (D.E. 126-21). Further, the Parties
   had the opportunity to negotiate the terms of the Agreement and, eventually, come to a meeting of
   the minds on the essential terms. (D.E. 126-4 11:16–18, 25; 12:1–15; 13:1–16); (D.E. 126-5
   73:19–23); (D.E. 126-6 18:21–19:3; 19:10–13; 20:1–5; 21:3–5); (D.E. 126-2 22:7–10, 14–15;
   25:6–20); (D.E. 126-25); (D.E. 126-26) FreightHub even had the opportunity to have legal counsel
   review the Agreement:
          Q: Is it the companies position, not your knowledge, is it the company’s position
          that did or did not negotiate on that engagement letter?
          A: It did negotiate the engagement letter, yes.
          Q: And the company had legal counsel involved at the time?
          A: Yes.
          Q: And the companies legal counsel reviewed that engagement letter prior to its
          execution?
          A: Given the red lines I would assume so, yes.



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            Q: You would assume so, but is it the company’s position that its legal counsel
            reviewed the engagement letter prior to execution?
            A: Yes.
   (D.E. 126-2 25:6–20.) As there is no genuine dispute as to the ability to negotiate the Agreement,
   there are no issues that would invalidate the Agreement. Additionally, FreightHub provides no
   evidence to support its allegation that the Agreement constitutes a restraint on trade. (D.E. 53 at
   9.) As noted above, the duration of the contract can be determined by the conduct and intentions
   of the Parties. Therefore, FreightHub’s sixteenth affirmative defense fails.
               q. Affirmative Defenses-Conclusion

            Because FreightHub fails to meet its burden on any of its sixteen affirmative defenses and
   creates no genuine dispute of material fact, BGSA’s Motion for Summary Judgment as to the
   Amended Complaint should be granted as a matter of law.
           BGSA PARTIES’ MEMORANDUM OF LAW IN SUPPORT OF SUMMARY JUDGMENT ON
                              FREIGHTHUB’S COUNTERCLAIMS

      I.       The BGSA Parties are Entitled to Summary Judgment on Counter Claims I, II,
               and V Because BGSA was a Broker-Dealer, not an Investment Adviser.
            FreightHub alleges Counterclaims for violation of the Investment Advisers Act of 1940
   against BGSA, breach of fiduciary duty against BGSA, and aiding and abetting against Gordon in
   Counts I, II, and V, respectively. (D.E. 53 ¶¶ 154-93, 212-20.) These Counterclaims are included
   together because the Counterclaims all rely on the same improper assumption: That BGSA is an
   investment adviser. None of the allegations in the Amended Counterclaim meet FreightHub’s
   burden of establishing any genuine issue of material fact regarding Counterclaims I, II, and V.
               a. Relevant Law
            First, a cause of action under the Investment Advisers Act of requires an action against an
   “investment adviser.” 15 U.S.C. 80b-6 (“It shall be unlawful for any investment adviser”)
   (emphasis added). Second, the elements of a breach of fiduciary duty claim are (1) the existence
   of a fiduciary duty; (2) the breach of that duty; and (3) damage proximately caused by that breach.
   Border Collie Rescue, Inc. v. Ryan, 418 F. Supp. 2d 1330, 1342 (M.D. Fla. 2006) (granting
   summary judgment on a breach of fiduciary duty claim where the complainant failed to show the
   existence of any fiduciary duty that was breached) (citations omitted). Importantly, a party may
   waive a breach of fiduciary duty claim. Band v. Libby, 113 So. 3d 113, 115 (Fla. 2d DCA 2013)
   (“Parties, by their own knowledge and conduct, can waive or be estopped to raise a wide array of

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   constitutional, statutory, and common law rights”) (citation omitted). Lastly, the elements of a
   cause of action for aiding and abetting are (1) existence of the underlying wrongdoing;
   (2) knowledge of the wrongdoing by the aider and abettor; and (3) the aider and abettor’s
   substantial assistance in the wrongdoing. See Gilison v. Flagler Bank, 303 So. 3d 999 (Fla. 4th
   DCA 2020). A cause of action for aiding and abetting breach of fiduciary duty requires a fiduciary
   duty on the part of the primary wrongdoer. See Grape Leaf Capital, Inc. v. Lafontant, 316 So. 3d
   760, 761 n.2 (Fla 3d DCA 2021).
              b. Distinction Between Broker-Dealers and Investment Advisers
          As noted in Dr. Paulukaitis’ Report (D.E. 114-1), the Financial Planning Coalition
   differentiates between broker-dealers and investment advisers as follows:
          Broker-dealers . . . are not required to provide services to their clients under the
          fiduciary standard of care. Instead, broker-dealers provide services under the
          “suitability standard of care,” which generally requires only that the broker-dealer’s
          reasonable belief that any recommendation is suitable for the client. It is important
          to recognize that a financial recommendation that is “suitable” for a client (as
          legally required for broker-dealers) may not be a financial recommendation that is
          in the client’s best interest (as legally required for investment advisers).16

   Roel Campos, the former SEC Commissioner, similarly contrasted the duties of an investment
   adviser and a broker-dealer:
          Brokers who become investment advisers have to play by and addition set of rules,
          and those rules are generally stricter. Advisers Act was drawn largely from the
          common law of fiduciaries. They owe their clients a “fiduciary duty.” They must
          avoid conflicts of interest with their clients, which means putting them first, or at
          least disclosing the conflict of interest so the client can take steps to protect himself.
          Brokers must treat clients fairly, but unless they establish a special relationship with
          the client, are generally not held to the same duty as an adviser.17

              c. The BGSA Parties are Broker-Dealers Not Investment Advisors
          There is no genuine issue of material fact as to whether Gordon and/or BGSA were
   investment advisers. They are not, and never were, investment advisers. In fact, the Agreement
   specifically makes sure to refer to BGSA as an “advisor” not “adviser.” (D.E. 120-1). This
   distinction was intentional; Gordon knew the distinction when the Agreement was drafted, and



   16
     https://financialplanningcoalition.com/issues/fiduciary-standard-of-care/.
   17
     Remarks Before the National Association of Securities Professionals 1st Annual Legislative
   Symposium, Roel C. Campos, March 29, 2006.
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   FreightHub agreed to such language. Because the Act is the Investment Advisers Act of 1940, it
   cannot be disputed that, if BGSA and/or Gordon were not investment advisers, there was no
   heightened duty placed on them. Nothing in the Agreement creates a heightened duty on behalf
   of BGSA or suggests that BGSA’s role was to provide securities advice to FreightHub. Moreover,
   the Agreement specifically states that BGSA has no fiduciary duty to FreightHub and specifically
   forecloses the possibility of advice. (D.E. 120-1 §§ F, O.)
             As a threshold matter, BGSA is registered with the SEC and FINRA as a broker-dealer.
   (D.E. 126-7 136:21–137:4); (D.E. 114 ¶ 5) (D.E. 121-1). BGSA was not and is not registered as
   investment adviser nor does it function as an investment adviser. (D.E. 126-2 98:2–10; 190:6–9);
   (D.E. 126-4 156:4–22; 174:14–21); (D.E. 126-5 171:21; 206:20–207:5) (D.E. 114-1 at 8, 12).
   Nonetheless, FreightHub still counterclaims under the Investment Advisers Act and for breach of
   fiduciary duty and aiding and abetting. (D.E. 53 ¶¶ 154–93, 212–20.)
             The Investment Advisers Act of 1940 defines an “investment adviser” as any person who,
   “for compensation, engages in the business of advising others, either directly or through
   publications or writings, as to the value of securities or as to the advisability of investing in,
   purchasing, or selling securities, or who, for compensation and as part of a regular business, issues
   or promulgates analyses or reports concerning securities[.]” 15 U.S.C. § 80b-2(11). FreightHub’s
   arguments are simply foreclosed because neither Gordon nor BGSA were an investment adviser
   as defined by the Act. Furthermore, neither Party provided FreightHub with investment advice.
   (D.E. 126-2 98:2-10; 190:6-9); (D.E. 126-4 156:4-22; 174:14-21); (D.E. 126-5 171:21; 206:20-
   207:5).
             Importantly, the Agreement specifically states:
             The scope of BGSA’s engagement shall be limited to matters expressly set forth in
             this letter agreement, and shall not include tax, legal, regulatory, accountancy or
             other specialist or technical advice or associated services
   (D.E. 120-1 § O.) As FreightHub testified that the terms of the Agreement represented the Parties’
   agreement (D.E. 126-2 31:17-25), BGSA was never intended to be an investment adviser under
   the Agreement. FreightHub has not provided a single piece of evidence to prove that either
   Gordon or BGSA advised FreightHub as to the value of securities or whether FreightHub should
   invest, purchase, or sell securities—which is what the definition of investment adviser




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   contemplates.18 In fact, FreightHub’s corporate representative unequivocally testified to the
   following:
             Q: What specific securities advice did Ben Gordon provide FreightHub?
             A: I don’t know.
             Q: What specific securities did BG Strategic did BG Strategic Advisers provide
             FreightHub?
             A: I don’t know.
             Q: What specific advice did Shai Greenwald provide to FreightHub?
             A: I don’t know.
   (D.E. 126-2 98:2–10) (emphasis added). FreightHub is now bound by these “I don’t know”
   answers and cannot provide conclusory evidence to the contrary. See QBE Ins. Corp., 277 F.R.D.
   at 688. As such, there can be no dispute that neither BGSA nor Gordon were investment advisers.
   Freudenthaler even continues to say:
             Q: Did BG Strategic Advisors ever tell the company that it should purchase certain
             securities?
             A: I haven’t seen any indication of that.
             --
             Q: . . . did BG Strategic Advisors ever advise FreightHub to sell assets that would
             have been securities that were not just capital in FreightHub?
             A: No.
   (D.E. 126-2 189:23–25; 190:6–9.) Nonetheless, FreightHub still attempts to use BGSA’s and
   Gordon’s published investment reports as a way to pin the title of advisor on them. (D.E. 53 ¶¶ 53–
   59.) FreightHub has since admitted, however, that it never even looked at such reports before the
   Parties entered into the Agreement. (D.E. 126-2 97:3–16.)
             If the Court disagrees, however, the Investment Advisers Act of 1940 specifically lays out
   an exception for “any broker or dealer whose performance of such services is solely incidental to
   the conduct of his business as a broker or dealer and who receives no special compensation
   therefor[.]” 15 U.S.C. § 80b-2(11)(C); see also Sec. & Exch. Comm’n v. Nat’l Exec. Planners,
   Ltd., 503 F. Supp. 1066, 1074 (M.D.N.C. 1980) (explaining that where investment advice that
   corporation gave was incidental to conduct of selling investment instruments and other investment
   products, corporation was not an “investment adviser” within meaning of the Investment Advisers


   18
        15 U.S.C. § 80b-2(a)(11).
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   Act). As admitted by FreightHub, any alleged “advice” that was given by BGSA and/or Gordon
   could thus fit into this exception. (D.E. 126-4 174:22–25.)
               d. FreightHub Fails to Meet its Burden to Prove Counterclaims I, II, V
          Counterclaim I is an alleged violation of the Investment Advisers Act of 1940 claim against
   BGSA. (D.E. 53 ¶¶ 154-75.) As it cannot be disputed that BGSA is not an investment adviser
   under the Act, as set forth in the preceding section, no trier of fact could find that such violation
   occurred.
          Counterclaim II is a claim for breach of fiduciary duty against BGSA, basing such duties
   on BGSA’s role as an investment adviser. (D.E. 53 ¶¶ 176–93.) FreightHub waived such claim
   because the Agreement expressly states that BGSA is not a fiduciary “to the Company or its
   stockholders in connection with the performance of services.” (D.E. 120-1 § F); see also Band,
   113 So. 3d at 115. Additionally, no fiduciary duty can be established from BGSA’s role as an
   adviser because, as established above, it did not ever attempt or purport to act as an investment
   adviser to FreightHub. As it cannot be disputed that BGSA is not an investment adviser, no trier
   of fact could find that BGSA breached any such fiduciary duties.
          Counterclaim V is asserted against Gordon for allegedly aiding and abetting BGSA in
   breaching fiduciary duties. (D.E. 53 ¶¶ 212–20.) To be liable for aiding and abetting, an
   underlying violation must have occurred. See, e.g., Grape Leaf Capital, Inc., 316 So. 3d 760, at
   761 n.2 (noting that a wrongful act done by a “primary wrongdoer” is an element of a claim for
   aiding and abetting). As a threshold matter, there can be no primary wrongdoer because no breach
   of fiduciary duty occurred. Therefore, no trier of fact could find that Gordon aided and abetted,
   and the BGSA Parties are entitled to summary judgment as a matter of law.
               e. SEC Suspension, Cambridge Capital
          As noted above, FreightHub’s aiding and abetting Counterclaim against Gordon is negated
   simply by the fact that BGSA did not owe FreightHub a fiduciary duty. Nonetheless, the BGSA
   Parties are inclined to respond to FreightHub’s lumped-in allegations that Gordon failed to comply
   with his SEC suspension and failed to disclose alleged conflicts of interest in the Counterclaim.
   (D.E. 53 ¶ 219.) As a threshold matter, such allegations do not establish a Counterclaim for aiding
   and abetting. Moreover, and perhaps most importantly, such allegations are simply baseless.
          On June 20, 2019, Gordon entered a no-admit, no-deny settlement (the “Settlement”) with
   the Securities and Exchange Commission. (D.E. 126-5 130:18–131:7); (D.E. 121-2). The

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   Settlement was accompanied by a twelve month suspension wherein Gordon was prohibited from
   associating with any broker-dealer. (D.E. 121-2.)     The Settlement was public information.
   (D.E. 121 ¶¶ 5, 8.)    According to BGSA’s former compliance officer, Alexander Noskov
   (“Noskov”), the BGSA Parties meticulously complied with the terms of the Settlement, including
   the suspension. (Ex. 5, Noskov Depo. 43:16–44:5; 44:11–14; 61:3–17; 91:8–92:5; 96:18–97:5;
   104:1–105:13). In fact, Gordon’s management authority in BGSA was transferred to Massimo to
   ensure that Gordon would not be involved in a broker-dealer. (D.E. 126-7 114:24–115:15); (D.E.
   126-3 15:10–15; 43:16–44:5, 44:11–14; 61:3–17; 91:8–92:5; 96:18–97:5; 105:1–105:13). At all
   times material, the entity working with FreightHub—BGSA—remained a registered broker-
   dealer. (D.E. 126-7 136:21–137:4); (D.E. 114 ¶ 5); (D.E. 121-1). Therefore, FreightHub has
   provided no evidence to create a genuine dispute as to whether the Settlement voided the
   Agreement. In fact, the Settlement occurred long after the attempted termination, meaning that
   FreightHub is essentially admitting to the continuation of the Agreement until at least the 2019
   Settlement.
          Additionally, FreightHub claims that BGSA concealed its relationship with Cambridge
   Capital. (D.E. 53 ¶ 219.) It is undisputed that FreightHub was aware of Gordon’s relationship
   with Cambridge Capital. The Agreement specifically references Cambridge Capital as being
   associated with BGSA. (D.E. 120-1 § C (“for as long as BGSA, Cambridge Capital, or Gordon
   remains involved with the company”) (emphasis added)). Cambridge Capital was included
   between BGSA and Gordon in a list of entities that would be involved in FreightHub pursuant to
   the Agreement. (D.E. 120-1 § C.) Importantly, FreightHub’s Counterclaim even states that
   Cambridge Capital “publicly identifies BGSA Holdings as its affiliate on its website” and
   “identifies Gordon as its Managing Partner.” (D.E. 53 at 14 ¶ 45) (emphasis added). FreightHub
   cannot claim both that it did not know about the affiliation and that the affiliation is public
   knowledge. Moreover, FreightHub made no effort to determine who Cambridge Capital was at
   the time of negotiating the Agreement. Only now, almost four years later, is FreightHub arguing
   that it had no idea who Cambridge Capital was. Not only is this a disingenuous argument, but it
   also simply does not create a genuine issue of material fact to preclude summary judgment.
          As such, there is no genuine dispute of material fact that Gordon and BGSA are not
   investment advisers for purposes of the Investment Advisers Act of 1940 or so as to create a
   fiduciary duty as alleged by FreightHub. As there can be no violation of the Act or breach of

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   fiduciary duty, there can also be no genuine issue of material fact that Gordon did not participate
   in aiding and abetting. Therefore, no trier of fact could find for FreightHub on Counterclaims I,
   II, and V, and the BGSA Parties are thus entitled to summary judgment as a matter of law.
      II.      The BGSA Parties are Entitled to Summary Judgment on Counterclaim III
               Because FreightHub Knowingly and Voluntarily Entered Into the Agreement
            FreightHub next Counterclaims for recission or reformation of the Agreement in
   Counterclaim III. (D.E. 53 ¶¶ 194–205.) Recission is a harsh remedy which a court of equity will
   not grant unless “it clearly appears that the claimant is entitled thereto and has not by his own
   conduct waived his right to the relief claimed.” International Realty Assocs. V. McAdoo, 87 Fla.
   1, 99 So. 117, 119 (1924). To state cause of action for rescission of contract, complaint must show:
   (1) character or relationship of parties; (2) making of contract; (3) existence of fraud, mutual
   mistake, false representations, impossibility of performance, or other ground for rescission or
   cancellation; (4) that party seeking rescission has rescinded contract and notified other party to
   contract of such rescission; (5) that party moving for rescission has returned any benefits already
   received from contract, if possible; and (6) that moving party has no adequate remedy at law.
   Crown Ice Machine Leasing Co. v. Sam Senter Farms, Inc., 174 So. 2d 614, 617 (Fla. 2d DCA
   1965). Reformation “allows the court, not to rewrite the document, but recasts from the evidence
   the defective written instrument so that the instrument accurately reflects the terms of the
   agreement.” SunTrust Bank v. Original Acad. of Learning, Inc., No. 6:15-CV-1213-ORL-DAB,
   2016 WL 8914357, at *6 (M.D. Fla. June 23, 2016) (citing Florida law).
            Here, FreightHub simply cannot create a genuine dispute of material fact as to element
   number three (3)—there is simply no existence of fraud, mutual mistake, false representations,
   impossibility of performance, or any other ground for rescission or cancellation. See Crown Ice
   Machine Leasing Co., 174 So. 2d at 617. In fact, it is undisputed that FreightHub (1) took part in
   negotiations of the terms of the Agreement (D.E. 126-4 11:16–18; 12:6–15; 13:1–16); (D.E. 126-
   5 73:19–23); (D.E. 126-6 19:10–13; 20:1–5; 21:3–5); (2) engaged counsel to review the terms of
   the Agreement (D.E. 126-2 22:7–10, 14–15; 25:6–20); (D.E. 126-4 11:25; 12:1–5); (D.E. 126-6
   18:21–19:3) (D.E. 126-25); (D.E. 126-26); (3) agreed to the terms of the Agreement (D.E. 126-4,
   Exh. 4 and 11:6–15); (4) performed under the terms of the Agreement (D.E. 126-21), and (5) even
   benefitted from the Agreement (D.E. 126-23, D.E. 126-24). Therefore, no trier of fact could find
   that FreightHub is entitled to rescission of the contract. As noted herein, the agreement is valid,
   legal, enforceable, and FreightHub has created no genuine issue of material fact to prove otherwise.
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   Moreover, because FreightHub admitted that the Agreement accurately reflected the terms of the
   Parties’ Agreement (D.E. 126-2 31:17–32:1), no trier of fact could find that FreightHub is entitled
   to reformation.
             Nonetheless, if the Court decides that any of these issues are true, this would only
   encompass a unilateral mistake on behalf of FreightHub, which does not give FreightHub the
   ability to rescind the contract under Florida law. See Limehouse v. Smith, 797 So. 2d 15, 17 (Fla.
   4th DCA 2001) (“a party’s performance under a contract is not excused on the basis of unilateral
   mistake when the mistake is the result of the party’s own negligence and lack of foresight, or the
   other party has relied upon his performance so that rescission would be inequitable”) (citations
   omitted); see also Nordberg v. Green, 638 So. 2d 91 (Fla. 3d DCA 1994) (holding that court’s
   equitable power does not extend to reformation of a deed because of a bad business decision). In
   other words, FreightHub cannot simply choose to no longer honor the Agreement because it now
   thinks that it was a poor business decision (or found a new advisor). As FreightHub has produced
   no evidence to create a genuine dispute of material fact otherwise, the Agreement cannot be
   rescinded or reformed, and the BGSA Parties are entitled to summary judgment as a matter of law.
      III.      BGSA and BGSA Holdings are Entitled to Summary Judgment on Counterclaim
                IV Because FreightHub Cannot Maintain a Claim for Unjust Enrichment When
                There is a Valid Contract Between the Parties
             Next, FreightHub counterclaims for unjust enrichment. (D.E. 53 ¶¶ 206–11.) Importantly,
   “the law will not imply a contract where an express contract exists concerning the same subject
   matter.” Kovtan v. Frederiksen, 449 S0. 2d 1, 1 (Fla. 2d DCA 1984) (citations omitted); see also
   Doral Collision Ctr., Inc. v. Daimler Tr., 341 So. 3d 424, 429 (Fla. 3d DCA 2022) (affirming the
   trial court’s grant of summary judgment because it was “clear from the record that an express
   contract . . . exists” and therefore an unjust enrichment claim was improper). As evidenced
   throughout this Motion, a valid contract exists between BGSA and FreightHub on the same subject
   matter that FreightHub is seeking unjust enrichment. (D.E. 120-1.) Therefore, no trier of fact
   could find for FreightHub on a claim of unjust enrichment, and the BGSA Parties are entitled to
   summary judgment as a matter of law.
      IV.       The BGSA Parties are Entitled to Summary Judgment on Count VI Because the
                Agreement is Valid, Binding, and Enforceable
             FreightHub’s last Counterclaim is a declaratory action asking the Court to declare the
   Agreement void. (D.E. 53 ¶¶ 221–23.) For the reasons stated herein, the Agreement is valid,


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   binding, and enforceable. FreightHub has not produced any evidence to create a genuine dispute
   of material fact on this issue of validity. In fact, as it stands, the evidence is such that no trier of
   fact could find for FreightHub on this issue. As such, the BGSA Parties are entitled to summary
   judgment.
                                               CONCLUSION
          For the foregoing reasons, the BGSA Parties’ Motion for Summary Judgment should be
   granted. There is no genuine issue of material fact which would preclude the entry of summary
   judgment. The record evidence is clear that an express contract existed between the Parties and
   that FreightHub breached the contract when it improperly terminated and refused to perform its
   obligations thereunder. None of FreightHub’s deficient affirmative defenses negate such facts,
   and FreightHub has produced no evidence to create any genuine issue of material fact. As such,
   no trier of fact could find for FreightHub on any of the issues presented, and the BGSA Parties are
   entitled to summary judgment as a matter of law.
          WHEREFORE, Plaintiff and Counterclaim Defendant BG Strategic Advisors, LLC and
   Counterclaim Defendants BGSA Holdings, LLC and Benjamin Gordon respectfully request that
   this Court enter an Order granting the Motion for Summary Judgment as to the First Amended
   Complaint (D.E. 51) and the First Amended Counterclaim (D.E. 53) and any such further relief
   this Court deems just and proper.
          Dated: May 12, 2023              Respectfully submitted,



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                                  CERTIFICATE OF SERVICE

          I hereby certify that the foregoing was filed with the Court’s CM/ECF system and that all
   counsel of record will be served with electronic notices of the same generated by the Court’s
   CM/ECF system.
                                                             By: Zachary D. Ludens
                                                                 Zachary D. Ludens




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